Case: 1:07-cr-00588-CAB Doc #: 30 Filed: 06/03/08 1 of 9. PageID #: 123
Case: 1:07-cr-00588-CAB Doc #: 30 Filed: 06/03/08 2 of 9. PageID #: 124
Case: 1:07-cr-00588-CAB Doc #: 30 Filed: 06/03/08 3 of 9. PageID #: 125
Case: 1:07-cr-00588-CAB Doc #: 30 Filed: 06/03/08 4 of 9. PageID #: 126
Case: 1:07-cr-00588-CAB Doc #: 30 Filed: 06/03/08 5 of 9. PageID #: 127
Case: 1:07-cr-00588-CAB Doc #: 30 Filed: 06/03/08 6 of 9. PageID #: 128
Case: 1:07-cr-00588-CAB Doc #: 30 Filed: 06/03/08 7 of 9. PageID #: 129
Case: 1:07-cr-00588-CAB Doc #: 30 Filed: 06/03/08 8 of 9. PageID #: 130
Case: 1:07-cr-00588-CAB Doc #: 30 Filed: 06/03/08 9 of 9. PageID #: 131
